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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

__________________________________________
ELISA NILI CIRILO PERES                   )
BEN-RAFAEL, ET AL.,                        )
                                           )
                        Plaintiffs,        )
                                           )
            v.                             )                     Civil Action No. 08-0716 (ESH)
                                           )
ISLAMIC REPUBLIC OF IRAN, ET AL.,         )
                                           )
                        Defendants.        )
__________________________________________)

                                              ORDER

          For the reasons set forth in the accompanying Memorandum Opinion, it is hereby

          ORDERED that Court confirms and reenters default judgment against defendant the

Islamic Republic of Iran (“Iran”) and in favor of plaintiffs as entered in Ben-Rafael v. Islamic

Republic of Iran, No. 06-CV-00721 (ESH) [Dkt. No. 15], February 25, 2008, paras. 1-6; it is

further

          ORDERED that the Clerk of the Court is to enter this Order as final judgment as to

defendant the Islamic Republic of Iran (“Iran”); it is further

          ORDERED that plaintiffs’ application for default judgment against defendant Islamic

Revolutionary Guard Corps (“IRGC”) is DENIED; it is further




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        ORDERED that the Clerk of the Court is to arrange for this Order to be translated into

Farsi and cause a copy of the Order and translation thereof to be transmitted to the United States

Department of State for service upon defendants the Islamic Republic of Iran (“Iran”) and the

Islamic Revolutionary Guard Corps (“IRGC”) through diplomatic channel; it is further

        ORDERED that the claims against IRGC are DISMISSED; it is further

        ORDERED that the claims against the remaining defendants are DISMISSED without

prejudice for failure to prosecute; and it is further

        ORDERED that the above-captioned case is DISMISSED.



                                                           /s/
                                                ELLEN SEGAL HUVELLE
                                                United States District Judge

Dated: June 18, 2010




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